                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,
                                                       CRIMINAL NO. 19‐650 (DRD)
   Plaintiff,

     v.

 WILFREDO HERNANDEZ‐MASSA,

   Defendant.



                                               ORDER

          Upon reviewing the Defendant, Wilfredo Hernandez‐Massa’s Motion Requesting Order,

Instructing the Bureau of Prisons (MDC, Guaynabo) to Provide Copy of Medical Records (Docket

No. 38), the Court hereby GRANTS the Defendant’s request and hereby orders the Bureau of

Prisons to provide to the defendant’s counsel a complete copy of the medical records of Mr.

Wilfredo Hernandez‐Massa, inmate no. 49746‐069, presently incarcerated in MDC Guaynabo.

          IT IS SO ORDERED.

          In San Juan, Puerto Rico, this 8th day of February, 2021.



                                                       S/Daniel R. Domínguez
                                                       Daniel R. Domínguez
                                                       United States District Judge
